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                   United States Court of Appeals
                                FIFTH CIRCUIT
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                           February 09, 2024


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      No. 23-11038     Jackson v. Mayorkas
                       USDC No. 4:22-CV-825


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